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UNITED sTATES DISTRICT CoURT v`“JDG;.; co\_EN\/\N
NORTHERN DISTRICT OF ILLINOIS
EASTERN DWISIOPMAG\$TRATE alcoa aowLAND

UNITED STATES OF AMERICA § 1 7 C R 2 217

v.
) Violations: Title 26, United States Code,

TIMOTHY K. LIOU ) Section 7206(1)
) F 1 l_ E D
CO_UN_T®~E APR 06 2017
The SPECIAL JULY 2016 GRAND JURY charges: THOMAS G. BRUTON

CLERK, U.S. D|STRICT COURT
l. At times material to this information:

a. Defendant TIMOTHY K. LIOU resided in Wheaton, Illinois, and Was
an attorney licensed in the State of Illinois practicing law as The Liou Law Firm, a sole
proprietorship in Chicago, Illinois;

b. Defendant TIMOTHY K. LIOU represented individual debtors in
bankruptcy cases filed in the United States Bankruptcy Court for the Northern District of
Illinois;

c. Defendant TIMOTHY K. LIOU received attorney’s fees from his
bankruptcy clients primarily in cash, money orders and cashier’s checks;

d. Defendant TIMOTHY K. LIOU deposited only a portion of the
attorney’s fees he received into the Liou Law Firm bank accounts, while negotiating the

majority of the money orders and cashier’s checks received from clients and then using the

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proceeds, along with cash received from clients, to purchase cashier’s checks made payable
for the benefit of defendant LIOU and the Liou Law Firm; and
e. The gross receipts of The Liou Law Firm were required to be reported

on the United States Individual Income Tax Returns (Form 1040 with schedules and
attachments) of defendant TIMOTHY K. LIOU.

2. On or about April 18, 2011, in the Northern District of Illinois, Eastern
Division, and elsewhere,

TIMOTHY K. LIOU,

defendant herein, who during the calendar year 2010 was a resident of Wheaton, Illinois,
did willfully make and subscribe a United States Individual Income Tax Return (Form
1040 With schedules and attachments) for the calendar year 2010, on behalf of himself and
his spouse, which return was verified by a written declaration that it was made under the
penalties of perjury and was filed with the Internal Revenue Service, which return the
defendant did not believe to be true and correct as to every material matter, in that the
return stated that the total income (line 22) of defendant LIOU and his spouse was
$110,134, Whereas, as the defendant then and there well knew and believed, the total
income of defendant and his spouse during 2010 was an amount substantially in excess of
$110,134, defendant having willfully omitted from his total income approximately
$488,042 in gross income defendant had and received from The Liou Law Firm;

In violation of Title 26, United States Code, Section 7206(1).

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COUNT TWO
The SPECIAL JULY 2016 GRAND IURY further charges:
l. The allegations of paragraph one of Count One are realleged as if fully set
forth herein,
2. On or about October 15, 2012, in the Northern District of Illinois, Eastern
Division, and elsewhere,
TIMOTHY K. LIOU,
defendant herein, who during the calendar year 2011 was a resident of Wheaton, Illinois,
did willfully make and subscribe a United States Individual Income Tax Return (Form
1040 with schedules and attachments) for the calendar year 2011, on behalf of himself,
which return was Verifled by a Written declaration that it was made under the penalties of
perjury and was filed with the Internal Revenue Service, which return the defendant did
not believe to be true and correct as to every material matter, in that the return stated that
the total income (line 22) of defendant LIOU was - $831, whereas, as the defendant then
and there well knew and believed, the total income of defendant during 2011 was an
amount substantially in excess of - $831, defendant having willfully omitted from his total
income approximately $94,555 in gross income defendant had and received from The Liou
Law Firm;

In violation of Title 26, United States Code, Section 7206(1).

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The SPECIAL IULY 2016 GRAND JURY further charges:

1. The allegations of paragraph one of Count One are realleged as if fully set
forth herein,

2. On or about May 11, 2013, in the Northern District of Illinois, Eastern
Division, and elsewhere,

TIMOTHY K. LIOU,

defendant herein, who during the calendar year 2012 was a resident of Wheaton, Illinois,
did willfully make and subscribe a United States Individual Income Tax Return (Form
1040 with schedules and attachments) for the calendar year 2012, on behalf of himself,
which return was verified by a written declaration that it was made under the penalties of
perjury and was filed with the Internal Revenue Service, which return the defendant did
not believe to be true and correct as to every material matter, in that the return stated that
the total income (line 22) of defendant LIOU was $0, whereas, as the defendant then and
there well knew and believed, the total income of defendant during 2012 was an amount

substantially in excess of $0, defendant having willfully omitted from his total income

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approximately $54,783 in gross income defendant had and received from The Liou Law

Firrn;

In violation of Title 26, United States Code, Section 7206(1).

A TRUE BILL:

 

FOREPERSON

 

ACTING UNITED STATES ATTORNEY

